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                                                 March 4, 2019
The Honorable John G. Koeltl
United States District Judge
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, NY 10007-1312

      Re: Democratic National Committee v. Russian Federation (1:18-cv-03501-JGK)

Dear Judge Koeltl:

   I represent Defendant Donald J. Trump for President, Inc. (“the Campaign”) in
the above-captioned matter. Pursuant to Rule 2.G of Your Honor’s Individual
Practices, the Campaign respectfully requests that this Court hear Oral Argument
on the Campaign’s Motion to Dismiss the Second Amended Complaint, filed on
March 4, 2019 (ECF No. 226).

                                                             Sincerely,
                                                             /s/ Michael A. Carvin
                                                             Michael A. Carvin (pro hac vice)
                                                             JONES DAY
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                                                             Counsel for Defendant
                                                             Donald J. Trump for President, Inc.


cc:      All Counsel of Record (via ECF)




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